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         Fr o m: A n n e Zi e gl er
         S e nt: W e d n es d a y, M a y 1 7, 2 0 2 3 3: 5 2 P M
         T o: C y n di B u c kl e y
         S u bj e ct: R e: E S A A NI M A L



         T h er e is n ot hi n g att a c h e d. A n n e



         O n W e d, M a y 1 7, 2 0 2 3 at 2: 4 8 P M C y n di B u c kl e y < e d writ er 1 0 @ g m ail. c o m > wr ot e:

            Pl e as e fi n d t h e att a c h e d l ett er fr o m m y d o ct or.



            Pl e as e c o nfir m r e c ei pt.



            T h a n k y o u,

            H a v e a gr e at d a y.



            C y nt hi a B u c kl e y

            6 1 4- 6 6 9- 7 2 0 6

            E d writ er 1 0 @ g m ail. c o m

            San Re mo

            5 2 0 1 W Cl u b Cir cl e # 1 0 3

            B o c a R at o n, F L 3 3 4 8 7



            S e nt fr o m M ail f or Wi n d o ws


                                                                                                                           E X HI BI T 11
                                                                                                                           EXHIBIT
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       I a m g oi n g t o w ait t o s e n d f or a p pr o v al u ntil all t h e n e e d e d it e ms ar e h er e s o pl e as e s e n d w h at
       y o u h a v e W e d. S o m e g et c ertifi c at es f or t h e E S A a ni m al . If n ot, t h e v et r e c or ds a n d pi ct ur e al o n g
       wit h t his l ett er is w h at is n e e d e d. T h a n ks A n n e



       O n M o n, M a y 2 2, 2 0 2 3 at 7: 0 8 A M C y n di B u c kl e y < e d writ er 1 0 @ g m ail. c o m > wr ot e:

          W h at c ertifi c at e ? O n e fr o m t h e v et f or t a gs a n d li c e ns e ? I s h o ul d h a v e t h at st uff b y W e d.



          ~ C y nt hi a




          S e nt fr o m M ail f or Wi n d o ws




          Fr o m: A n n e Zi e gl er
          S e nt: M o n d a y, M a y 2 2, 2 0 2 3 1: 0 4 A M
          T o: C y n di B u c kl e y
          S u bj e ct: R e: E S A A NI M A L



          I als o n e e d t h e p ets r e c or ds ( v a c ci n ati o ns) , a pict ur e of t h e m, a n d t h e c ertifi c at e. T h a n ks A n n e

          ---------- F or w ar d e d m ess a g e ---------
          Fr o m: C y n di B u c kl e y < e d writ er 1 0 @ g m ail. c o m >
          D at e: W e d, M a y 1 7, 2 0 2 3 at 2: 5 6 P M
          S u bj e ct: R E: E S A A NI M A L
          T o: A n n e Zi e gl er < a n n e @t m c- m a n a g e m e nt. c o m >




          S orr y A n n e! I g ot it t his ti m e! T h a n k y o u



          S e nt fr o m M ail f or Wi n d o ws
